Case 2:07-cr-00143-SRC                       Document 278   Filed 08/16/11    Page 1 of 2 PageID: 1442




                                     UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY



    UN1TEf) STATES OF AMERICA                                Hon. Stanley R. Chesler


                                                             (friminal No. 07-143 SRC


    VINCENT YOUNc. et al.
                                                             ORDER REQUIRING
                                                             ACCOMODATION FOR
                                                             ATTORNEY TELEPHONE
                                                             CONFERENCES




                       This matter having been opened to the Court by Gregory E. Tomcz
                                                                                                  ak.
   appointed counsel for Vincent Young, with consent of the United
                                                                                   States (Melissa L.
   Jampol, Asst. U.S. Attorney appearing), and the Court finding
                                                                 good cause for                   the
   issuance of this Order. and it is.

                       ORDERED that New Jersey State Prison. Trenton. N.J. be require
                                                                                                 d to
   provide inmate Vincent Young. SBI No. 000883348B. with
                                                                             telephonic access to his
   attorney. Gregory F. Tomczak. no later than 11 a.rn. Tuesday,
                                                                 Augus             t 16. 2011 and at
   such other times through Tuesday, November 1. 2011 as required by
                                                                                  Mr. Tomczak. with
   two-hour notice to prison officials.

                    SO oRDERED

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  Dated:       / i /                 /       /
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                                          August 11.2011

   VIA LAWYERS SERVICE
   Honorable Stanley R. Chesler. [.S.D.J.
   IThited States District Court
   Post Omce and Courthouse Building
   50 Walnut Street. P0 8
   Newark, New Jersey 071 (>1

          Re:     U.S. v. Young, et al.
                  Criminal No. 07-143

   Dear Judge Chesler.

           I am writing to request that the Court enter another Order providing me with
   telephonic access to my client. Vincent Young. Enclosed is a proposed Order which is being
   provided with the consent of AUSA. Melissa Jampol.

          Thank you for Your Honor’s kind attention to this matter.

                                                    Very truly yours.
                                                    AMBROSIO & TOMCZAK


                                                               Li   C                       c
                                                 Gregory E. Tomczak. Esq.

   GET/Im
   Cc:   AUSA, Melissa Jampol
